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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.

  HOWARD MICHAEL CAP LAN ,

                Plaintiff,

                vs.

  MARLIN REALTY, INC., a Florida Profit
  Corporation and RAJA INVESTMENTS,
  INC., a Florida Profit Corporation,

            Defendants.
  _______________________________/

                                       COMPLAINT

  Plaintiff HOWARD MICHAEL CAPLAN (hereinafter “Plaintiff”), through the
  undersigned counsel, hereby files this complaint and sues MARLIN REALTY, INC.
  (“MARLIN”), and RAJA INVESTMENTS, INC., (“RAJA”) (hereinafter, collectivel y
  referred to    as   “Defendants”),   for declaratory and injunctive   relief;   for
  discrimination based on disabilit y; and for the resultant attorney's fees,
  expenses, and costs (including, but not limited to, court costs and expert fees),
  pursuant to 42 U.S.C. §12181 et. seq., ("AMER ICANS WITH DISABILITIES
  ACT OF 1990," or "ADA") and alleges:


  JURISDICTION
  1.    This Court is vested with original jurisdiction over this action pursuant to
  28 U.S.C. §1331 and § 1343 for Plaintiff’s claims arising under Title 42 U.S.C.
  §12181 et. seq., based on Defendant s’ violations of Title III of the Americans
  with Disabilities Act of 1990, (hereinafter referred to as the "ADA"). See also
  28 U.S.C. §2201 and §2202.


  VENUE
  2.     The venue of all events giving rise to this lawsuit is located in Broward

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  Count y, Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local Rules of
  the United States District Court for the Southern District of Florida, this is the
  designated court for this suit.


  PARTIES
  3.     Plaintiff, HOWARD MICHAEL CAP LAN , is a resident of the State of
  Florida. At the time of Plaintiff’s visit to Marlin Realty (“Subject Facility”), Plaintiff
  suffered from a “qualified disabilit y” under the ADA, which substantiall y limits
  Plaintiff’s major life activiti es, including but not limited to walking , and
  requires the use of a mobilit y aid . The Plaintiff personall y visited Marlin Realty,
  but was denied full and equal access, and full and equal enjoyment of the
  facilities, services, goods, and amenities within Marlin Realty, which is the
  subject of this lawsuit. The Subject Facilit y is a real estate firm and Plaintiff
  wanted to inquire about the services provided , but was unable to due to the
  discriminatory barriers enumerated in Paragraph 15 of this Complaint.


  4.     In the alternative, Plaintiff, HOWARD MICHAEL CAPLAN , is an
  advocate of the rights of similarl y situated disabled persons and is a “tester” for
  the purpose of asserting his civil rights and monitoring, ensuring and
  determining whether places of public accommodation are in compliance with the
  ADA.


  5.     Defendants, MARLIN and RAJA are authorized to conduct business and are
  in fact conducting business within the State of Florida. The Subject Facilit y is
  located at 6188 Miramar Pkwy, Miramar, FL 33023. Upon information and belief,
  MARLIN is the lessee and/or op erator of the Real Propert y and therefore held
  accountable of the violations of the ADA in the Subject Facilit y which is the
  matter of this suit. Upon information and belief, RAJA is the owner and lessor of
  the Real Propert y where the Subject Facilit y is l ocated and therefore held
  accountable for the violations of the ADA in the Subject Facilit y which is the
  matter of this suit.

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  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
  6.    Plaintiff adopts and re -alleges the allegations stated in paragraph s 1
  through 5 of this complaint, as are further explained herein.


  7.    On Jul y 26, 1990, Congress enacted the Americans w ith Disabilities Act
  ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one
  and a half years from enactment of the statute to implement its requirements.
  The effective date of Title III of the ADA was January 26, 1992, or January 26,
  1993 if Defendants had ten (10) or fewer employees and gross receipts of
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.    As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
  among other things, that:

        i. some 43,000,000 Americans have one or more physical or mental
          disabilit y, and this number shall increase as the population continues to
          grow and age;

        ii. historicall y, societ y has tended to isolate and segregate individuals
          with disabilities and, despite some improvements, such forms of
          discrimination against disabled individuals continue to be a pervasive
          social problem, requiring serious attention;

        iii. discrimination against disabled individuals persists in such critical
          areas as employment, housing, public accommodations, transportation,
          communication, recreation, institutionalization, health services, voting
          and access to public services and public facilities;

        iv. individuals with disabilities           continuall y suffer    forms of
          discrimination,    including:    outright    intentional   exclusion;  the
          discriminatory     effects    of    architectural,    transportation,  and
          communication barriers; failure to make modifications to existing
          facilities and practices; exclusionary qualification standards and
          criteria; segregation, and regulation to lesser services, programs,
          benefits, or other opportunities; and,

        v. the continuing existence of unfair and unnecessary discrimination and
          prejudice denies people with disabilities the opportunit y to compete on

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            an equal basis and to pursue those opportunities for which this countr y
            is justifiabl y famous, and costs the United States billions of dollars in
            unnecessary expense s resulting from dependency and non -productivit y.

  9.    As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitl y stated
  that the purpose of the ADA was to:

        i. provide a clear and comprehensive national mandate for the elimination
          of discriminatio n against individuals with disabilities;

        ii. provide clear, strong, consistent, enforceable standards addressing
          discrimination against individuals with disabilities; and,

        iii. invoke the sweep of congressional authorit y, including the power to
          enforce the fourteenth amendment and to regulate commerce, in order to
          address the major areas of discrimination faced on a daily basis b y
          people with disabilities.

  10.   Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no
  individual may be discrimina ted against on the basis of disabilit y with regards
  to the     full   and   equal    enjoyment      of    the   goods,   services,   facilities, or
  accommodations of any place of public accommodation by any person who
  owns, leases (or leases to), or operates a p lace of public accommodation. Marlin
  Realty is a place of public accommodation by the fact it is an establishment that
  provides goods/services to the general public, and therefore, must compl y with
  the ADA. The Subject Facilit y is open to the public, its operations affect
  commerce, and it is a service establishment . See 42 U.S.C. Sec. 12181 (7) and
  28 C.F.R. 36.104.       Therefore, the Subject Facilit y is a public accommodation
  that must compl y with the ADA.


  11.   The Defendants have discriminated, and continue to discriminate against
  the Plaintiff, and others who are similarly situated, by denying access to, and
  full and equal enjoyment of goods, services, facilities, privileges, advan tages
  and/or accommodations at Marlin Realty located at 6188 Miramar Pkwy, Miramar, FL
  33023, as prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq.; and by
  failing     to    remove        architectural       barriers   pursuant     to    42    U.S.C.


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  §12182(b)(2)(A)(iv).


  12.   Plaintiff has visited the Subject Facilit y, and has been denied full, safe,
  and equal access to the facilit y and therefore suffered an injury in fact.


  13.   Plaintiff shall suffer a future injury as Plaintiff intends to return and
  enjoy the goods and/or services at the Subject Facilit y within the next six
  months. The Subject Facilit y is in close proximit y to Plaintiff’s residence and is
  in an area frequently travelled by Plaintiff. Furthermore, Plaintiff will also
  return to monitor compliance with the ADA. However, Plaintiff is precluded
  from doing so by the Defendants' failure and refusal to provide people with
  disabilities with full and equal access to their facilit y. Therefore, Plaintiff
  continues to suffer from discrimination and injury due to the architectural
  barriers, which are in violation of the ADA.


  14.   Pursuant to the mandates of 42 U.S.C. §12134(a), on Jul y 26, 1991, the
  Department of Justice, Office of the Attorney General, promulgated Federal
  Regulations to implement the requirements of the ADA. The ADA Accessibilit y
  guidelines (hereinafter referred t o as “ADAAG”), 28 C.F.R. Part 36, may cause
  violators to obtain civil penalties of up to $55,000 for the first violation and
  $110,000 for any subsequent violation.


  15.   The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28

  C.F.R. 36.302 et. seq., and are discriminating against the Plaintiff with the

  following specific violations which Plaintiff personall y encountered and/or has

  knowledge of:

           a) The customer parking facility in front of the building does not provide a

               compliant accessible parking space. 2010 ADA Standards 502.1




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           b) The parking facility has sixteen (16) marked standard spaces and zero (0)

              accessible parking spaces. 2010 ADA Standards 208.2

           c) The parking facility does not have the minimum number of accessible

              parking spaces required. One (1) accessible parking space with adjacent

              access aisle is required. 2010 ADA Standards 208.2

           d) The parking facility does not provide compliant directional and

              informational signage to a compliant accessible parking space. 2010 ADA

              Standards 216.5

           e) There is no compliant access aisle attached to an accessible route serving

              any existing parking space which would allow safe entrance or exit of

              vehicle for accessible persons requiring mobility devices. 2010 ADA

              Standards 502.2

           f) There is currently no existing accessible route to help persons with

              disabilities enter the facility or safely maneuver through the parking area.

              At least one accessible route must be provided within the site from

              accessible parking spaces and accessible passenger loading zones; public

              streets and sidewalks; and public transportation stops to the accessible

              building or facility entrance they serve. 2010 ADA Standards 206.2.1

           g) There is a non-compliant ramp connecting the parking lot driveway to the

              front building sidewalk leading to the main entrance doors. Ramp runs

              must have a running slope not steeper than 1:12 (8.3%). 2010 ADA

              Standards 405.2

           h) The ramp does not provide edge protection. 2010 ADA Standards 405.9



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           i)   The ramp must have a minimum 36 inches clear width. 2010 ADA

                Standards 403.5.1

           j) The main office door hardware is non-compliant. The knob-type handle is

                not accessible because it requires the user to tightly grasp the handle to

                pull the door open. Operable parts must be operable with one hand and not

                require tight grasping, pinching, or twisting of the wrist. 2010 ADA

                Standards 309.4

           k) The main office entrance doorway is non-compliant. There is a vertical

                rise (step) at the threshold exceeding the maximum rise allowed. Changes

                in level of 1/4 inch high maximum are permitted to be vertical. 2010 ADA

                Standards 302.2

           l) The facility does not provide compliant directional and informational

                signage to an accessible route which would lead to an accessible entrance.

                Where not all entrances comply, compliant entrances must be identified by

                the International Symbol of Accessibility. Directional signs that indicate

                the location of the nearest compliant entrance must be provided at

                entrances that do not comply. 2010 ADA Standards 216.6

  16.   Upon information and belief there are other current violations of the ADA
  at Marlin Realty. Only upon full inspection can all violations be identified.
  Accordingl y, a complete list of violations will require an on -site inspection by
  Plaintiff’s representatives pursuant to Rule 34b of the Federal Rules of Civil
  Procedure.


  17.   Upon information and belief, Plaintiff alleges that removal of the
  discriminatory barriers and violations is readil y achievable and technicall y


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  feasible. To date, the readil y achievable barriers and other violations of the
  ADA still exist and have not been remedied or altered in such a way as to
  effectuate compliance with the provisions of the ADA.


  18.   Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
  the Defendants were required to make the establishment a place of public
  accommodation, accessible to persons with disabilities by January 28, 1992. As
  of this date the Defendants have failed to compl y with this mandate.


  19.   The Plaintiff has been obligated to retain the undersigned counsel for the
  filing and prosecution of this action. Plaintiff is entitled to have its reasonable
  attorney's fees, costs and expenses paid by the Defendants, pursuant to 42
  U.S.C. §12205.


  20.   Pursuant to 42 U.S.C. §12188, this Court is vested with the authorit y to
  grant Plaintiff injunctive relief, including an order to alter the subject facilities
  to make them readily accessible and useable by individuals with disabilities to
  the extent required by the ADA, and closing the Subject Facilit y until the
  requisite modifications are co mpleted.


  REQUEST FOR RELIEF
  WHEREFORE, the Plaintiff demands judgment against the Defendants and
  requests the following injunctive and declaratory relief:


  21. That this Honorable Court declares that the Subject Facility owned, operated
  and/or controlled by the Defendants is in violation of the ADA;


  22.   That this Honorable Court enter an Order requiring Defendants to alter the
  Subject Facilit y to make it accessible to and usable by individuals with
  disabilities to the full extent required by Title III of the ADA;



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  23.    That this Honorable Court enter an Order directing the Defendants to
  evaluate and neutralize their policies, practices and procedures toward persons
  with disabilities, for such reasonable time so as to allow the Defendants to
  undertake and complete corrective procedures to the Subject Facilit y;


  24.    That this Honorable Court award reasonable attorney's fees, all costs
  (including, but not limited to court costs and expert fees) and other expenses of
  suit, to the Plaintiff; a nd


  25.    That this Honorable Court award such other and further relief as it deems
  necessary, just and proper.

  Dated this November 08, 2019.

  Respectfull y submitted by:

  Ronald E. Stern
  Ronald E. Stern, Esq.
  Florida Bar No. 10089
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  Hallandale Beach, Florida 33009
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  E-Mail: ronsternlaw@gmail.com
  Attorney for Plaintiff, HOWARD MICHAEL CAPLAN




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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO.

   HOWARD MICHAEL CAP LAN ,

               Plaintiff,

               vs.

   MARLIN REALTY, INC., a Florida Profit
   Corporation and RAJA INVESTMENTS,
   INC., a Florida Profit Corporation,

             Defendants.
   _______________________________/

                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 08, 2019, I electronicall y filed the
   Complaint along with a Summons for each Defendant with t he Clerk of Court
   using CM/ECF. I also certify that the aforementioned documents are being
   served on all counsel of record, corporati ons, or pro se parties identified on the
   attached Service List in the manner specified via Service of Process by an
   authorized Process Server, and that all future pleadings, motions and documents
   will be served either via transmission of Notices of Electro nic Filing generated
   by CM/ECF or Via U.S. Mail for those counsel or parties who are not authorized
   to receive electronicall y Notices of Electronic Filing.

   By: Ronald E. Stern
   Ronald E. Stern, Esq.
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   Attorney for Plaintiff HOWARD MICHAEL CAPLAN




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                                  SERVICE LIST:

     HOWARD MICHAEL CAP LAN , Plaintiff, vs. MARLIN REALTY, INC., a Florida
       Profit Corporation and RAJA INVESTMENTS, INC., a Florida Profit Corporation

               United States District Court Southern District Of Florida

                                      CASE NO.


   MARLIN REALTY, INC.

   REGISTERED AGENT:

   RAJA, HAYDER A
   6188 MIRAMAR PKWY
   MIRAMAR, FL 33023

   VIA PROCESS SERVER


   RAJA INVESTMENTS, INC.

   REGISTERED AGENT:

   RAJA, HAYDER
   6188 MIRAMAR PKWY
   MIRAMAR, FL 33023

   VIA PROCESS SERVER




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